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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                     :
PRESIDENT, INC., et al,                 : CIVIL ACTION
                                        :
      Plaintiffs                        : No. 4:20-cv-02078
                                        :
      v.                                : Judge Brann
                                        :
KATHY BOOCKVAR, et al,                  :
                                        :
      Defendants                        :


                                      ORDER

      AND NOW, this _____day of November, 2020, upon review of

PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY it is hereby

ordered that said Motion is GRANTED and that the Defendants shall produce the

below documents by November _______, 2020:

   a. Copies (paper and electronic) of outside envelopes of all mail-in ballots that
      were canvassed and approved by the Defendant Counties;

   b. Access to inspect all outside and inside envelopes of all mail-in ballots that
      were canvassed and approved by the Defendant Counties;

   c. Documents evidencing the number of votes cast for each candidate in the
      General Election in each county at the voting machines, by absentee ballot,
      by mail-in ballot, and provisional ballot;

   d. Lists of all voters who were permitted to correct their mail-in ballots and
      copies of all notifications sent to voters that their mail-in ballots needed to
      be corrected;

   e. …(See Below);

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   f. Rule 30(b)(6) Depositions of each Defendant County regarding the conduct
      of the 2020 General Election (topics to be provided once outside and inside
      envelopes are produced);

   g. All communications between and among Defendant County officials, the
      Pennsylvania Department of State, including Defendant Boockvar and
      Jonathan M. Marks, Deputy Secretary for Elections & Commissions, and
      voters, candidate representatives and political party representatives
      concerning communication to and with voters, candidate representatives and
      political party representatives about voters whose absentee and mail-in
      ballots had been rejected at any time by the county board.

And, further that the Oral Deposition of Defendant Boockvar be conducted by

November _________, 2020.



                                            BY THE COURT,

                                            _______________________
                                            Matthew W. Brann
                                            United States District Judge




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